                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:20-CV-611-BO


MARDEN ' S ARK CORPORATION,                  )
                                             )
                      Plaintiff,             )
                                             )
V.                                           )                      ORDER
                                             )
JUSTIN BODENHAMER,                           )
                                             )
                      Defendant.             )


       This cause comes before the Court on defendant' s unopposed motion to file an out of time

responsive pleading [DE 30] pursuant to Rule 6(b)(l)(B) of the Federal Rules of Civil Procedure.

The Court, having determined that the motion is supported by good cause, GRANTS the motion.

The Clerk is directed to file Defendant' s Exhibit 1 [DE 30-1] as defendant' s answer to plaintiffs

amended complaint in this case.



SO ORDERED, this/!tday of October 2021.




                                            ~A1~
                                             TRRENCEW.BOYLE
                                             UNITED ST ATES DISTRICT JU~E




         Case 5:20-cv-00611-BO Document 33 Filed 10/19/21 Page 1 of 1
